 

TNW Byrd, Curtis

 

CJA 20 .\PnPOINTMECT"lT OFI| AND .-\UTHOR[TY m PAY CoUR'l_` .~\PPOIN TED cOUNSEL
r`r\r\n ')- r\r r\r\i irv\r\lr'\'l' f)n[: l:lir\ri nEl1 J,c)l PF\I`IC 1 f\'i: ') DQI`|D|n 91 9
\./(J.OC L- 1 \Jl 203 Slllvl uu\JUlllCl ll LVV l II\.'\J V`II_L _I_ \.Il l- l MH\.'II_I I__I_I_
i.. ClRJDlSTle. CODE 2, PE.RSON REPRESENTED ,VOUCHERi MBER\J

 

 

]. MAG. DKTJ[)EF. NUMBER 4. DIST. DKT.."DEF. NUMBER

2101-020325-001

5. AI’FEALS DKTJDEF. NUMBER

§.;§_)Ti_li;iz DKTMBER

 

'i. in cAsE/MATTF.R 0F s. PAYMENT cATEGoRY
U.S. v. Byrd Felony

(Case Name)

 

 

9. win-z PERsoN REPRESENTI»;I)
Adult Defendant

F`]_.l] REP RESENTATION TYPE
"`:;\CBSee_ instrrci»iens] r;~ i_ l ` ` i“‘

ther i i 5"-

 

 

ll. OFFENSE(S) CH ARGED (Cltc U.S. Code, Tltle & Section)

ll more than one ul'l'ensc, list top to live) major ofl'\a'ises charged, accordlng to leverlty of offense.

1) 18 1014.F -- LOAN AND CREDIT APPLICATIONS GENERALLY

 

iZ. ATTORNEY'S NAME gira\ Name, M.i., Last Name, including any sullix)
AND MA[L[NG ADDRE S

SALKY, RANDALL P.
266 SO.FRONT ST.
MEMPHIS TN 381sz

Te|cphonc Numbcr:
14. NAME AND MAIL[NG ADDRESS OF LAW FlRM (only provide per lnrlroctlonl}

 

 

13. COURT ORDER

 

E 0 Appolntlng Cnunsel g C'
Ci F Subs Fur l"edcral Del'ender [] R S\lbs For Retalned Attm'ney
J:] P Suhs For Panel Attorney [] Y Stondby Counscl

Priur At|orney's Namei

 

Appo|nllnont Datc:

ij Because the above-named person represented hal testified under oath or has
otherwise satisfied this court that he or she (i) is financially unable lo employ carmel and
(2) does not wish to waive counsei, and because the interests ofjusilee w rcqu|rc, the

attorney Whn!c name appears ll\ item 12 a appointed t rep esent this person ln this casc,
or
E] Othcr lSec instructional y md

Signature ol' Presldlng Judlclol 0 cer or By Order ol the Court

04/79/?(]0'5

Datl.' ofOrder Nunc Pro 'l`unc Datc
Replyment or partial repayment ordered from the person represented l'or this service al

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD 0 F SERVICE
FROM TO

clrn¢ orappulmm¢m. E.l YES [] NO
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CATEGoRiEs (Annch itemization onerous with imei) CB£HQ{‘ES” SE<§&EI:"B §l§v;[é§és(i:)l{ N.Yé§§r:i:§" AHBWEQ{,"AL
15. a. Arraignment and)'or Plea

b. Bail and Detention Hearings

c. Motion Hearings
11 d. Triai
C c. Sentencing Hearings
3 f. Revocation Hearings
tr g. Appeals Court

h. Other (Specify on additional sheets)

(Rate per hour 1 $ ) TOTALS.'

16. a. interviews and Conferences
§ b. Obtaining and reviewing records
o l:. Legai research and brief writing
; d. Travel time
3 e. lnvestigativ e and Other work {spe¢iiy nn minimal iili¢m}
§ (Rute per hour = 5 ) TOTALS:
l'J‘, Tl'avei Expenses (`lodging, parking. mca|s, mileage, ctc.)
18. Other Expenses (mher than expcn, transcripu, etc.)

 

 

 

 

 

 

1{}. APPOINTMENT TERMll\`ATiON DATE
lF OTHER TH.AN CASE COMPLETION

Zl. CASE DISP() SlTlON

 

 

 

22. C LAIM STATUS l:] l-`lnli Plymenl [:l interim Paymeat Number

rrpresen\atlon? E YES l:l NO il'yes, give details on additional lhcets.
l swear or affirm thc truth or correctness ofthe above statements.

Slgnorurc u|`Attomey:

iiavc you previously applied to the court fir compensation and.l'or rcrnlmhurs¢:mcnt for this casc?
Olher than I'rom the court, have you, or loyour knowledge liu anyone else, rccc|ved payment {compcosotion or anything or value) from any other source in connection with thls

l:i Supplemental l'ayment

n YES Ii' yes, were you pald‘.’ Cl YES l:l NO

 

IN COURT COMP. 24. OUT OF COURT COMP.

 

25. TRAVEL EX.'PENSES

 

Date:

26. OTHER EXPENSES

 

 

 

 

 

 

13. 27. TOTAL AMT. APPR l CERT
18. SIGNATURE OF THE PRESIDING .I`UDiCL-\L OFFICER DATE 231. JUDGE.' MAG. .IUDGE CODE
19. lN COURT COMP. lil). ()U'l` OF (.`OURT COMP. 31. TRAVEL EXI’ENSES 32. OTHER EXPENSES 33. TOTAL AMT. APFROVED

34. S.:,(§£:&;{!`li£`lg§cgro?‘li`l:l;§£tgtlgg(‘;l:§n:§g§l§“'l;£F APP EALS (OR BELEGATE) Payment DATE 34¢. J'UDGE CODE

 

 

 

 

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With Flu|e 55 and/or 32(b) FHC:P on ’L/

   

UNI…ED`TATS ISTRICT COURT - WEERN DISITRCT OF TENNESSEE

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This notice confirms a copy ot` thc document docketed as number 206 in
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May ]7, 2005 to thc parties listcd.

 

 

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Honorablc Samuel Mays
US DISTRICT COURT

